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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                       CRIMINAL ACTION
v.                                          )
                                            )                       No. 12-20083-11-KHV
PETER PARK,                                 )
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       On November 17, 2015, the Court sentenced defendant to 90 months in prison. This matter

is before the Court on defendant’s Motion For Appointment Of Counsel Pursuant To 18 U.S.C.

§ 3006A (Doc. #2363) and defendant’s Application To Proceed Without Prepayment Of Fees And

Affidavit By A Prisoner (Doc. #2364), both filed October 24, 2016. For reasons stated below, the

Court overrules defendant’s motions.

I.     Motion For Appointment Of Counsel (Doc. #2363)

       Defendant asks the Court to appoint counsel to assist in the prosecution of his motion for

relief under 28 U.S.C. § 2255. Defendant has no constitutional or statutory right to appointment of

counsel in the prosecution of a post-conviction motion such as one under 28 U.S.C. § 2255 unless

the Court determines that an evidentiary hearing is required. Rule 8(c) of the Rules Governing

Section 2255 Proceedings; see Pennsylvania v. Finley, 481 U.S. 551, 555 (1987); United States v.

Evans, 51 F.3d 287, 1995 WL 139420, at *1 (10th Cir. 1995); Swazo v. Wy. Dep’t of Corr. State

Penitentiary Warden, 23 F.3d 332, 333 (10th Cir. 1994). In determining whether to appoint counsel,

the Court considers several factors including (1) the merit of the litigant’s claims; (2) the nature of

the factual issues raised in the claims; (3) the litigant’s ability to present his claims; and (4) the
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complexity of the claims involved. See Williams v. Meese, 926 F.2d 994, 996 (10th Cir. 1991).

Defendant appears to be able to adequately present his claims and the claims do not appear to be

complex. Accordingly, at this preliminary stage, the Court declines to appoint counsel.

II.    Application To Proceed In Forma Pauperis (Doc. #2364)

       Defendant apparently seeks in forma pauperis status for the filing of his motion to vacate his

sentence under 28 U.S.C. § 2255. The Court overrules defendant’s request as moot because no

filing fee is required for a Section 2255 motion. See United States v. Garcia, 164 F. App’x 785, 786

(10th Cir. 2006). The Court recognizes that defendant financially qualifies for in forma pauperis

status and may be entitled to copies of documents if the Court orders expansion of the record and

finds that certain documents or transcripts are relevant. See Rule 7 of the Rules Governing

Section 2255 Proceedings (if motion not summarily dismissed, court may order expansion of record

to include additional materials relevant to motion); 28 U.S.C. §§ 753, 2250; see also Brown v. N.M.

Dist. Court Clerks, 141 F.3d 1184, 1998 WL 123064, at *3 n.1 (10th Cir. Mar. 19, 1998) (to obtain

free copy of transcript, habeas petitioner must demonstrate claim not frivolous and materials needed

to decide issue presented by suit); United States v. Sistrunk, 992 F.2d 258, 260 (10th Cir. 1993)

(under 28 U.S.C. § 753(f), indigent defendant entitled to free copy of transcript on showing of

particularized need); Ruark v. Gunter, 958 F.2d 318, 319 (10th Cir. 1992) (prisoner does not have

right to free transcript simply to search for error in record); see also United States v. Horvath,

157 F.3d 131, 132 (2d Cir. 1998) (motion for free transcript under Section 753 not ripe until

Section 2255 motion has been filed). At this stage, defendant has not asked for any specific

documents or shown that any particular documents are necessary to support his claims. The Court

therefore overrules defendant’s request.


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      IT IS THEREFORE ORDERED that defendant’s Motion For Appointment Of Counsel

Pursuant To 18 U.S.C. § 3006A (Doc. #2363) filed October 24, 2016 is OVERRULED.

      IT IS FURTHER ORDERED that defendant’s Application To Proceed Without

Prepayment Of Fees And Affidavit By A Prisoner (Doc. #2364) filed October 24, 2016 is

OVERRULED.

      Dated this 27th day of October, 2016 at Kansas City, Kansas.

                                                  s/ Kathryn H. Vratil
                                                  KATHRYN H. VRATIL
                                                  United States District Judge




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